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                       IN THE UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK


MAVERICK REAL ESTATE PARTNERS LLC
Plaintiff                                                           COMPLAINT

v.
                                                            CIVIL ACTION NO. 21-cv-755
MAVERICK COMMERCIAL PROPERTIES,
CORP. and MAVERICK CAPITAL
PARTNERS LLC                                                JURY TRIAL REQUESTED
Defendants



                                         COMPLAINT

       Plaintiff Maverick Real Estate Partners LLC organized and existing under the laws of New

York (hereinafter, “Maverick Real Estate” or “Plaintiff”), by and through its undersigned counsel,

hereby allege as follows:

                                 NATURE OF THE ACTION

       1.       This action involves claims for trademark infringement of Maverick Real Estate’s

federally registered trademark and/or service mark in violation of § 32 of the Federal Trademark

(Lanham) Act, 15 U.S.C. §§ 1051 et seq.; false designation of origin and unfair competition in

violation of Section 43(a) of the Trademark Act of 1946, as amended (15 U.S.C. § 1125(a)); and
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a related common law claim (“Action”).           Plaintiff seeks injunctive relief, an accounting,

compensatory damages, enhanced discretionary damages, attorney’s fees and costs, and such other

relief as the Court deems proper.

                                 JURISDICTION AND VENUE

       2.       This Court has federal subject matter jurisdiction over the claims asserted in this

action pursuant to 28 U.S.C. §§ 1331 and 1338(a), as well as pursuant to 15 U.S.C. § 1121, as an

action arising out of violations of the Lanham Act, 15 U.S.C. §§ 1051 et seq.; pursuant to 28 U.S.C.

§ 1338(b) as an action arising out of claims for false designation of origin and unfair competition.

This Court has supplemental jurisdiction pursuant to 28 U.S.C. § 1367(a), as the common law

claim asserted hereunder is so closely related to the federal claims brought in this Action as to

form part of the same case or controversy.

       3.       Personal jurisdiction exists over Defendants in this judicial district pursuant to

N.Y.C.P.L.R. § 302(a)(1) and N.Y.C.P.L.R. § 302(a)(3) because, upon information and belief,

Defendants, which are headquartered in the State of New York and in this judicial district,

regularly conduct, transact, and/or solicit business in New York and in this judicial district, supply

services to consumers in New York and in this judicial district, and/or derive substantial revenue

from business transactions in New York and in this judicial district, and/or otherwise avail

themselves of the privileges and protections of the laws of the State of New York such that this

Court’s assertion of jurisdiction over Defendants does not offend traditional notions of fair play

and due process, and/or Defendants’ infringing actions caused injury to Plaintiff—which is

headquartered in the State of New York and in this judicial district—in New York and in this

judicial district, such that Defendants should reasonably expect its actions to have consequences

in New York and in this judicial district.


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        4.       Venue is proper, inter alia, pursuant to 28 U.S.C. § 1391 because, upon information

and belief, Defendants conduct business in this judicial district, a substantial part of the events or

omissions giving rise to the asserted counts occurred in this judicial district, and harm to Plaintiff

has occurred in this district.

                                           THE PARTIES

        5.       Plaintiff Maverick Real Estate Partners LLC is a limited liability company

organized and existing under the laws of the State of New York, with a principal place of business

at 100 Park Avenue, Suite 2805, New York, New York, 10017.

        6.       Upon information and belief, Defendant Maverick Commercial Properties Corp.

(hereinafter, “Maverick Commercial Properties”) is a corporation organized and existing under the

laws of the State of New York, with a place of business at 232 Madison Avenue, Suite 606, New

York, New York, 10016.

        7.       Upon information and belief, Defendant Maverick Capital Partners LLC

(hereinafter “Maverick Capital Partners”) is a Limited Liability Company organized and existing

under the laws of the state of New York, with a place of business at 232 Madison Avenue, Suite

606, New York, New York, 10016.

        8.       Upon information and belief, Defendant “Maverick Commercial Properties” and

Defendant “Maverick Capital Partners are affiliates of one another and shall be collectively

hereinafter referred to as “Defendants”.

                                   GENERAL ALLEGATIONS

                          Plaintiff and the Maverick Real Estate Marks

        9.       Maverick Real Estate is a private equity fund manager that acquires distressed

commercial mortgages secured by real estate in New York City, which was established on January


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10, 2007 and has used the corporate and tradename Maverick Real Estate Partners LLC (“Maverick

Real Estate Tradename”) in connection with such services since its establishment.

       10.     Since its inception in 2010, Maverick Real Estate has closed over 130 distressed

debt transactions with an aggregate value of over $300 million dollars.

       11.     Maverick Real Estate offers a number of real estate related services, including, but

not limited to, managing a series of distressed debt funds secured by real estate under the name

MAVERICK REAL ESTATE PARTNERS LLC (“Maverick Real Estate MARK”) along with a

family of related “Maverick” entities and funds, , such as, “Maverick Construction Services LLC”,

“Maverick Lien Funding LLC”, “Maverick Lien Fund III LP”, “Maverick Lien Fund IV LP”,

“Maverick Lien Fund V LP” and “Maverick Lien Fund V CO-Investors LP” and may form

additional entities and funds whose names will commence with the word “Maverick” (“Maverick

Real Estate Funds”). The Maverick Real Estate Tradename, Maverick Real Estate MARK and the

Maverick Real Estate Funds are collectively hereinafter referred to as the “Maverick Real Estate

IP”.

       12.     Plaintiff has protected its valuable rights in and to the Maverick Real Estate MARK

by filing for, and obtaining, a federal trademark registration covering the Maverick Real Estate

MARK, U.S. trademark Reg. No. 6,177,421 for “acquisition of mortgages, mechanics liens, and

judgment liens that are secured by real estate; acquisition or origination of loans secured by real

estate or secured by interests in companies that own real estate; acquisition of real estate or partial

interests in real estate owning companies; acquisition of liens, claims, and judgments against

companies or individuals that own real estate; management of real estate and real estate related

financial instruments; brokerage of real estate and real estate related financial instruments; Real

estate consulting of commercial, residential, and hotel property; and acquisition of CMBS or RMBS


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securities” in Class 36 (“Maverick Real Estate Registration”). True and correct copies of the

Maverick Real Estate Registration is attached hereto as Exhibit A and incorporated herein by

reference.

       13.      Through continuous and extensive use and promotion of the Maverick Real Estate

IP in connection with Maverick Real Estate’s real estate services has garnered significant goodwill

and reputation in the real estate, investment and financial services industries.

   Defendant’s Wrongful and Infringing Conduct and Instances of Consumer Confusion

       14.      Upon information and belief, Defendant Maverick Commercial Properties is a real

estate private equity and debt financing boutique advisory firm also headquartered in New York.

       15.      Upon information and belief, in or around the beginning of 2018, long after

Maverick Real Estate began using the Maverick Real Estate IP, Maverick Commercial Properties

formed Maverick Commercial Properties Corp. and began offering similar, if not identical, private

equity, distressed loan acquisition and various other real estate services using the name “maverick”

in the same geographical region as Plaintiff and began to operate the www.maverickcp.com

website (“Defendant’s Website”).

       16.      On or around December 28, 2018, Plaintiff Maverick Real Estate also put Maverick

Commercial Properties on notice of the Maverick Real Estate MARK and the infringing and illegal

nature of Defendant’s actions by sending a cease-and-desist letter to Defendant (the “C&D”). A

copy of the C&D is attached hereto as Exhibit B and incorporated herein by reference.

       17.      Upon information and belief, Defendant Maverick Commercial Properties also

provides debt and equity placement advisory services for commercial real estate transactions

and/or acts as a broker in commercial real estate transactions under the name Maverick Capital

Partners LLC.


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       18.      Despite having been placed on clear notice of its illegal and infringing conduct,

Maverick Commercial Properties use of Maverick Capital Partners LLC, Maverick Commercial

Properties Corp., and Defendant’s Website (hereinafter, “Infringing Marks”) for similar, if not

identical, services as Plaintiff in the same geographic area has continued.

       19.      Defendants’ use of the Infringing Marks for similar, if not identical, services as

Plaintiff in the same geographic area has already caused actual confusion on at least six (6)

occasions.

       20.      First, on or around December 27, 2018, The Real Deal: New York City Real Estate

News, the premier, subscription based, real estate news outlet in the US, which reaches millions

of professionals daily through digital, print, social media and events for breaking news, market

intelligence, custom research, proprietary rankings, deal analysis, profiles and trends, published

an article wherein it mistakenly misidentified Maverick Real Estate as a participant in a transaction

involving Maverick Commercial Properties (“Real Deal Article”). A printout of the Real Deal

Article is attached hereto as Exhibit C.

       21.      Second, on or around February 2018, at the IMN Networking Conference, James

Yetter, Managing Director of Maverick Real Estate introduced himself to Marty Reasoner and

Kyle Brengel from ACRES Capital, who asked Mr. Yetter if he worked with Adi Chugh, a

Managing Partner of Defendant Maverick Commercial Properties and Defendant Maverick Capital

Partners.

       22.      Third, at an event hosted by Stroock & Stroock & Lavan LLP, held on October 3,

2019, Jason Leibowitz, Managing Director and General Counsel for Maverick Real Estate

informed Zachary Kadden, who serves as Vice President of Development with Madison Realty

Capital that he left his former law firm and joined Maverick Real Estate, to which Mr. Kadden, in


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response, sought to confirm that Mr. Leibowitz was now working with Adi Chugh, Managing

Partner of Defendant Maverick Commercial Properties and Defendant Maverick Capital Partners.

       23.      Fourth, in or around August 2020, Elizabeth Zevallos, a Portfolio Management

Associate at Maverick Real Estate e-mailed a colleague, Susi Yu from MAG Partners, to tell her

that Ms. Zevallos would be starting a position with Maverick Real Estate and Ms. Yu asked if she

would be working with Mr. Chugh, a Managing Partner of Defendant Maverick Commercial

Properties and Defendant Maverick Capital Partners.

       24.      Fifth, in or around November 2020, Elizabeth Zevallos, a Vice President at

Maverick Real Estate, was speaking to a prospective job candidate who said that when they

originally searched for Maverick Real Estate they got confused with Defendant Maverick Capital

Partners.

       25.      Sixth, on or around December 15, 2020, an Executive Vice President at JLL sent

David Aviram, a Principal at Maverick Real Estate, an e-mail congratulating Mr. Aviram on an

article in the Wall Street Journal entitled, A-Rod Swings for the Fences With New Hotel Real

Estate Fund, discussing baseball legend Alex Rodriguez’s investment in buying or developing

hotels during the pandemic, a deal which involves Defendant Maverick Commercial Properties.

       26.      Neither Plaintiff nor any authorized agents of Plaintiff have consented to

Defendants’ use of the Maverick Real Estate IP, nor have they consented to Defendants’ use of

any identical or confusingly similar marks (i.e., the Infringing Marks).

       27.      By Defendants’ use of the Infringing Marks, as alleged herein, Defendants have

violated Plaintiff’s exclusive rights in its Maverick Real Estate IP, and have used Infringing Marks

that are confusingly similar to, identical to, and constitute infringement of Plaintiff’s Maverick

Real Estate IP, to confuse consumers and aid in the promotion of Defendants’ business(es), and


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Defendants’ Services. Defendants’ conduct and use began long after Plaintiff’s adoption and use

of its Maverick Real Estate IP.

        28.     Prior to and contemporaneous with their unlawful actions alleged herein,

Defendants had knowledge of Plaintiff Maverick Real Estate’s ownership of its Maverick Real

Estate IP and the goodwill associated therewith, and in bad faith adopted the Infringing Marks.

        29.     Defendants were placed on notice of their illegal actions, yet continue to engage in

such illegal and infringing actions, knowingly and intentionally, or with reckless disregard or

willful blindness to Plaintiff’s rights, or in bad faith, for the purpose of trading on the goodwill and

reputation of the Maverick Real Estate IP.

        30.     Defendants’ actions have caused, and will continue to cause confusion, mistake,

and deceive consumers, the public, and the trade with respect to the source or origin of Defendants’

services, and cause consumers to erroneously believe that the same are licensed by, or otherwise

associated with Plaintiff, thereby damaging Plaintiff.

        31.     In committing these acts, Defendants have, among other things, willfully and in bad

faith committed the following, all of which have caused and will continue to cause irreparable

harm to Plaintiff: infringed the Maverick Real Estate IP, and committed unfair competition.

        32.     Unless enjoined, Defendants will continue to cause irreparable harm to Plaintiff.

                                   FIRST CAUSE OF ACTION
                            (Infringement of Registered Trademarks)
                              [15 U.S.C. § 1114/Lanham Act § 32(a)]

        33.     Plaintiff repeats and re-alleges each and every allegation set forth in the foregoing

paragraphs as though fully set forth herein.

        34.     Plaintiff has continuously used the Maverick Real Estate MARK in interstate

commerce since at least as early as the date set forth on the Maverick Real Estate Registration.


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       35.     Plaintiff, as the owner and exclusive licensee of all right, title, and interest in and

to the Maverick Real Estate MARK has standing to maintain an action for trademark infringement

under 15 U.S.C. § 1114.

       36.     Defendants were, at the time they engaged in their actions as alleged herein,

actually aware that Plaintiff Maverick Real Estate is the owner of the Maverick Real Estate MARK

and Maverick Real Estate Registration.

       37.     Defendants did not seek, and thus inherently failed to obtain consent or

authorization to use the Maverick Real Estate MARK from Maverick Real Estate as the registered

trademark owner of the Maverick Real Estate MARK.

       38.     Defendants knowingly and intentionally used the Maverick Real Estate MARK, or

marks that are identical or confusingly similar thereto, on or in connection with Defendants’

business(es) and Defendants’ services.

       39.     Defendants’ egregious and intentional use of the Maverick Real Estate MARK, or

marks that are identical or confusingly similar thereto (i.e., the Infringing Marks), in commerce on

or in connection with Defendants’ business(es) and Defendants’ services has caused, and is likely

to continue to cause, actual confusion and mistake, and has deceived, and is likely to continue to

deceive, the general purchasing public as to the source or origin of Defendants’ business(es) and

Defendants’ services and is likely to deceive the public into believing that Defendants’

business(es) and Defendants’ services are associated with or authorized by Plaintiff.

       40.     Defendants’ actions have been deliberate and committed with knowledge of

Plaintiff’s rights and goodwill in the Maverick Real Estate MARK, as well as with bad faith and

the intent to cause confusion, mistake, and deception.

       41.     Defendants’ continued, knowing, and intentional use of the Infringing Marks


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without Plaintiff’s consent or authorization constitutes intentional infringement of Plaintiff’s

federally registered Maverick Real Estate MARK in violation of §32 of the Lanham Act, 15 U.S.C.

§ 1114.

          42.   As a direct and proximate result of Defendants’ illegal and infringing actions as

alleged herein, Plaintiff has suffered substantial monetary loss and irreparable injury, loss and

damage to its business(es) and valuable rights in and to the Maverick Real Estate MARK and the

goodwill associated therewith in an amount as yet unknown, but to be determined at trial, for which

they have no adequate remedy at law, and unless immediately enjoined, Defendants will continue

to cause such substantial and irreparable injury, loss, and damage to Plaintiff and its Maverick

Real Estate MARK.

          43.   Based on Defendants’ actions as alleged herein, Plaintiff is entitled to injunctive

relief, damages for the irreparable harm that Plaintiff has sustained, and will sustain, as a result of

Defendant’s unlawful and infringing actions as alleged herein, and all gains, profits and advantages

obtained by Defendants as a result thereof, enhanced discretionary damages, as well as other

remedies provided by 15 U.S.C. §§ 1116, 1117, and 1118, and reasonable attorneys’ fees and costs.

                              SECOND CAUSE OF ACTION
                 (Federal Unfair Competition & False Designation of Origin)
                      [15 U.S.C. §§ 1125(a)(1)(A)/Lanham Act § 43(a)]

          44.   Plaintiff repeats and re-alleges each and every allegation set forth in the foregoing

paragraphs as though fully set forth herein.

          45.   Plaintiff, as the owner and exclusive licensee of all common law right, title, and

interest in and to the Maverick Real Estate IP, has standing to maintain an action for unfair

competition and false designation of origin under the Lanham Act § 43(a), 15 U.S.C. § 1125.

          46.   Defendants knowingly and willfully used in commerce Infringing Marks that are


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identical or confusingly similar to Plaintiff’s Maverick Real Estate IP, and/or affixed, applied

and/or used other words, names, symbols or designs in connection with the promotion of

Defendants’ business(es) and Defendants’ services with the intent to cause confusion, to cause

mistake and to deceive the purchasing public into believing, in error, that Defendants’ business(es),

and Defendants’ services are authorized, sponsored, approved endorsed or licensed by Plaintiff,

and/or that Defendants are affiliated, connected or associated with Plaintiff, thereby creating a

likelihood of confusion by consumers as to the source of Defendants’ business(es) and Defendants’

services, and allowing Defendants to capitalize on the goodwill associated with, and the consumer

recognition of, Plaintiff’s Maverick Real Estate IP, to Defendants’ substantial profit in blatant

disregard of Plaintiff’s rights.

        47.     By using Infringing Marks that are identical, or confusingly similar, to Plaintiff’s

Maverick Real Estate IP, Defendants have traded off the extensive goodwill of Plaintiff and their

Maverick Real Estate IP to induce customers to use Defendants’ services and will continue to

induce such customers to do the same. Such conduct has permitted, and will continue to permit,

Defendants to make substantial sales and profits based on the goodwill and reputation of Plaintiff,

which they have amassed through their marketing, advertising and consumer recognition.

        48.     Defendants knew, or by the exercise of reasonable care should have known, that

their adoption and commencement of and continuing use in commerce of Infringing Marks that

are identical or confusingly similar to Plaintiff’s Maverick Real Estate IP would cause confusion,

mistake, or deception among purchasers, users and the public.

        49.     Upon information and belief, Defendants’ aforementioned wrongful actions have

been knowing, deliberate, willful, intended to cause confusion, to cause mistake and to deceive the

purchasing public and with the intent to trade on the goodwill and reputation of Plaintiff and its


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Maverick Real Estate IP.

       50.     As a direct and proximate result of Defendants’ aforementioned actions,

Defendants have caused irreparable injury to Plaintiff by depriving Plaintiff of the value of their

Maverick Real Estate IP as commercial assets, for which they have no adequate remedy at law,

and unless immediately restrained, Defendants will continue to cause substantial and irreparable

injury to Plaintiff and the goodwill and reputation associated with the value of Plaintiff’s Maverick

Real Estate IP in an amount as yet unknown, but to be determined at trial.

       51.     Based on Defendants’ wrongful conduct, Plaintiff is entitled to injunctive relief, as

well as monetary damages and other remedies as provided by the Lanham Act, including damages

that Plaintiff has sustained and will sustain as a result of Defendants’ unlawful and infringing

actions as alleged herein, and all gains, profits and advantages obtained by Defendants as a result

thereof, enhanced discretionary damages and reasonable attorneys’ fees and costs.

                                 THIRD CAUSE OF ACTION
                                    (Unfair Competition)
                                  [New York Common Law]

       52.     Plaintiff repeats and re-alleges each and every allegation set forth in the foregoing

paragraphs as though fully set forth herein.

       53.     By using the Infringing Marks on or in connection with Defendants’ business(es),

and Defendants’ services and/or the advertisement, marketing, promotion, and/or offering for sale

of Defendants’ business(es) and Defendants’ services, Defendants have traded off the extensive

goodwill of Plaintiff and its Maverick Real Estate IP to induce, and did induce and intends and

will continue to induce, customers to use Defendants’ services, thereby directly competing with

Plaintiff. Such conduct has permitted and will continue to permit Defendants to make substantial

sales and profits based on the goodwill and reputation of Plaintiff, which Plaintiff has amassed


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through their marketing, advertising and consumer recognition.

       54.      Defendants’ use of the Infringing Marks was and is in violation and derogation of

Plaintiff’s rights and is likely to cause confusion and mistake, and to deceive consumers and the

public as to the source, origin, sponsorship or quality of Defendants’ business(es) and Defendants’

services.

       55.      Defendants knew, or by the exercise of reasonable care should have known, that its

use of the Infringing Marks on or in connection with Defendants’ business(es) and Defendants’

services would cause confusion and mistake, or deceive purchasers, users and the public.

       56.      Upon information and belief, Defendants’ aforementioned wrongful actions have

been knowing, deliberate, willful, intended to cause confusion and mistake, and to deceive, in

blatant disregard of Plaintiff’s rights, and for the wrongful purpose of injuring Plaintiff and its

competitive position while benefiting Defendants.

       57.      As a direct and proximate result of Defendants’ aforementioned wrongful actions,

Plaintiff has been and will continue to be deprived of substantial sales of its services in an amount

as yet unknown but to be determined at trial, for which Plaintiff has no adequate remedy at law,

and Plaintiff has been and will continue to be deprived of the value of their Maverick Real Estate

IP as commercial assets in an amount as yet unknown but to be determined at trial, for which

Plaintiff has no adequate remedy at law.

       58.      As a result of Defendants’ actions alleged herein, Plaintiff is entitled to injunctive

relief, an order granting Plaintiff’s damages and Defendants’ profits stemming from its infringing

activities and exemplary or punitive damages for Defendants’ intentional misconduct.

                                     PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully request the following relief:


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A.   An award of Defendants’ profits and Plaintiff’s damages in an amount to be proven

     at trial for Defendants’ willful trademark infringement of Plaintiff’s federally

     registered Maverick Real Estate MARK, and such other compensatory damages as

     the Court determines to be fair and appropriate pursuant to 15 U.S.C. § 1117(a);

B.   An award of Defendants’ profits and Plaintiff’s damages in an amount to be proven

     at trial for false designation of origin and unfair competition under 15 U.S.C.

     §1125(a), and such other compensatory damages as the Court determines to be fair

     and appropriate pursuant to 15 U.S.C. § 1117(a);

C.   An award of damages to be proven at trial for common law unfair competition;

D.   A preliminary and permanent injunction by this Court enjoining and prohibiting

     Defendants, or each of their agents, and any employees, agents, servants, officers,

     representatives, directors, attorneys, successors, affiliates, assigns, and entities

     owned or controlled by Defendants, and all those in active concert or participation

     with Defendants, and each of them who receives notice directly or otherwise of

     such injunction from:

             i. directly or indirectly infringing in any manner any of Plaintiff’s

                trademarks or other rights (whether now in existence or hereafter

                created) including, without limitation, Plaintiff’s Maverick Real Estate

                Marks;

            ii. using any reproduction, counterfeit, copy or colorable imitation of

                Plaintiff’s trademarks or other rights (whether now in existence or

                hereafter created) including, without limitation, Plaintiff’s Maverick

                Real Estate IP to identify any goods or services not authorized by


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              Plaintiff;

          iii. using any of Plaintiff’s trademarks or other rights (whether now in

              existence or hereafter created) including, without limitation, Plaintiff’s

              Maverick Real Estate IP, or any marks confusingly similar thereto,

              including the Infringing Marks, on or in connection with Defendants’

              business(es) or Defendants’ services;

          iv. using any false designation of origin or false description or engaging in

              any action that is likely to cause confusion, cause mistake, and/or to

              deceive members of the trade and/or the public as to the affiliation,

              connection or association of any services offered or sold by Defendants

              with Plaintiff, and/or as to the origin, sponsorship, or approval of any

              service offered or sold by Defendants and Defendants’ commercial

              activities by Plaintiff;

           v. engaging in the unlawful, unfair, or fraudulent business acts or

              practices, including, without limitation, the actions described herein;

          vi. engaging in any other actions that constitute unfair competition with

              Plaintiff;

         vii. engaging in any other act in derogation of Plaintiff’s rights;

         viii. effecting assignments or transfers, forming new entities or associations,

              or utilizing any other device for the purpose of circumventing or

              otherwise avoiding the prohibitions set forth in any Final Judgment or

              Order in this action; and

          ix. instructing, assisting, aiding or abetting any other person or entity in


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                          engaging in or performing any of the activities referred to in

                          subparagraphs (i) through (viii) above; and

      E.     An award of exemplary or punitive damages in an amount to be determined by the

             Court;

      F.     Plaintiff’s reasonable attorneys’ fees;

      G.     All costs of suit; and

      H.     Such other and further relief as the Court may deem just and equitable.



                                DEMAND FOR JURY TRIAL

      Plaintiff hereby demands a trial by jury of all issues so triable.



Dated: January 27, 2021                                      EPSTEIN DRANGEL LLP

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